     Case 3:17-cv-07357-RS     Document 241-1         Filed 03/20/25    Page 1 of 16



 1 Damion D. D. Robinson, SBN 262573
   David Markevitch, SBN 256163
 2 ROBINSON MARKEVITCH & PARKER LLP
   8430 Santa Monica Blvd., Suite 200
 3 West Hollywood, CA 90069
   Tel.   (213) 757-7778
 4 Email: dr@robinsonmarkevitch.com
          dm@robinsonmarkevitch.com
 5

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 7

 8                           UNITED STATES DISTRICT COURT

 9                          NORTHERN DISTRICT OF CALIFORNIA
10

11 MICHAEL ZELENY, an individual,                    Case No.: 3:17-cv-07357-RS
12                            Plaintiff,             Assigned for All Purposes to:
                                                     Hon. Richard Seeborg
13                    vs.
                                                     DECLARATION OF DAMION
14 EDMUND G. BROWN, JR., et al.,                     ROBINSON IN SUPPORT OF MOTION
15
                                                     TO WITHDRAW AS COUNSEL
                              Defendants.
16                                                   [Filed concurrently:
                                                     1. Notice of Motion and Motion;
17                                                   2. Proposed Order]

18                                                   Date: May 1, 2025
                                                     Time: 1:30 p.m.
19                                                   Crtrm: 3

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                                           DECLARATION
      Case 3:17-cv-07357-RS        Document 241-1        Filed 03/20/25    Page 2 of 16



 1                            DECLARATION OF DAMION ROBINSON
 2         I, Damion Robinson, declare:
 3         1.     I previously represented Mr. Zeleny through Affeld Grivakes LLP (now Affeld
 4 England & Johnson LLP) (“Affeld Grivakes”). I have personal knowledge of the facts below and

 5 could testify competently to these facts if called upon to do so.

 6         2.     When this case was filed in late 2017, and at all times prior to entry of judgment,
 7 Affeld Grivakes represented Mr. Zeleny. David Markevitch and I were both employed by Affeld

 8 Grivakes and represented Mr. Zeleny in that capacity.

 9         3.     Mr. Markevitch and I both left Affeld Grivakes while Mr. Zeleny’s appeal was
10 pending. I left the firm in October of 2022 to join another law firm. Mr. Markevitch left at the

11 end of November 2023. As of December 1, 2023, we formed our current firm Robinson

12 Markevitch & Parker LLP.

13         4.     Attached hereto as Exhibit 1 is a true and correct copy of the Ninth Circuit docket
14 for Mr. Zeleny’s appeal.

15         5.     As reflected in the docket, Affeld Grivakes moved to withdraw during the appeal
16 on March 20, 2024, and that motion was granted. I then received electronic notice that I was

17 listed as counsel for Mr. Zeleny. I filed a notice of withdrawal on April 8, 2024, and was

18 terminated from the case the same day.

19         6.     I understand that Mr. Zeleny then retained new counsel, Alan Beck.
20         7.     After the Ninth Circuit remanded the case to this Court, the Court set a Case
21 Management Conference for January 23, 2025. In advance of that conference, David Affeld of

22 Affeld Grivakes emailed the clerk to have his firm removed from the docket because they had

23 withdrawn from representing Mr. Zeleny on appeal. I similarly emailed the clerk to ask to be

24 removed for the same reason. The clerk responded that, per Chambers, Mr. Zeleny believes that

25 we still represent him. A true copy of this email exchange is attached as Exhibit 2. While I do

26 not believe that I can reveal my communications with Mr. Zeleny during his appeal, I find this to

27 be rather shocking in light of those communications.

28         8.     I have corresponded with Mr. Zeleny about the apparent confusion over his
                                                   -2-
                                             DECLARATION
      Case 3:17-cv-07357-RS         Document 241-1        Filed 03/20/25     Page 3 of 16



 1 representation. We have not reached any agreement to represent Mr. Zeleny.

 2         9.      We cannot effectively represent Mr. Zeleny in this case, consistent with our
 3 professional obligations. As noted above, Mr. Markevitch and I have not been involved in this

 4 litigation for more than two years. I had minimal involvement in the months leading to my

 5 departure from Affeld Grivakes. Prior to the appeal, Mr. Zeleny’s claims against the State of

 6 California were primarily handled by another attorney. Because we have not represented Mr.

 7 Zeleny in some time, we have not kept up to speed of the status of the case, the evolving

 8 precedent related to gun control, or the current posture of Mr. Zeleny’s claims. Neither Mr.

 9 Markevitch nor I specialize in firearms law. To represent Mr. Zeleny effectively, we would need

10 to re-learn this case as well as the current state of the law on gun control. Handling this case for

11 free would impose a serious financial burden on our firm. More importantly, in light of our

12 current caseload and obligations to other clients, we cannot effectively represent Mr. Zeleny,

13 consistent with our duty of competence.

14         I declare under penalty of perjury under the laws of the State of California that the
15 foregoing is true and correct. Executed this 20th day of March, 2025, at West Hollywood,

16 California.

17                                                           /s/ Damion Robinson
                                                             Damion D. D. Robinson
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                                              DECLARATION
Case 3:17-cv-07357-RS   Document 241-1   Filed 03/20/25   Page 4 of 16




                                         EXHIBIT 1
                    Case 3:17-cv-07357-RS                      Document 241-1              Filed 03/20/25            Page 5 of 16
                                                                     General Docket
                                                    United States Court of Appeals for the Ninth Circuit
           Court of Appeals Docket #: 22-15870                                                                             Docketed: 06/10/2022
           Nature of Suit: 3440 Other Civil Rights                                                                          Termed: 08/28/2024
           Michael Zeleny v. Rob Bonta, et al
           Appeal From: U.S. District Court for Northern California, San Francisco
           Fee Status: Paid

           Case Type Information:
             1) civil
             2) private
             3) null

           Originating Court Information:
              District: 0971-3 : 3:17-cv-07357-RS
              Court Reporter: Richard John Duvall, Court Reporter Supervisor
              Trial Judge: Richard G. Seeborg, Chief District Judge
              Date Filed: 12/28/2017
              Date Order/Judgment:                Date Order/Judgment EOD:                   Date NOA Filed:            Date Rec'd COA:
              05/02/2022                          05/02/2022                                 06/01/2022                 06/01/2022

           Prior Cases:
              22-15449     Date Filed: 03/28/2022     Date Disposed: 05/06/2022      Disposition: FRAP 42b Dismissal - Clerk Order

           Current Cases:
             None



           MICHAEL ZELENY                                                      Alan Alexander Beck, Attorney
                     Plaintiff - Appellant,                                    Direct: 619-905-9105
                                                                               Email: alan.alexander.beck@gmail.com
                                                                               [COR NTC Retained]
                                                                               Law Offices of Alan Beck
                                                                               2692 Harcourt Drive
                                                                               San Diego, CA 92123
             v.

           ROB BONTA, California Atotrney General, in his official capacity    Noreen Patricia Skelly, Attorney
                    Defendant - Appellee,                                      Direct: 916-327-0349
                                                                               Email: noreen.skelly@doj.ca.gov
                                                                               Fax: 916-324-8835
                                                                               [COR LD NTC Dep State Aty Gen]
                                                                               AGCA-Office of the California Attorney General
                                                                               125
                                                                               1300 I Street
                                                                               Sacramento, CA 95814

                                                                               Sean Clinton Woods
                                                                               Direct: 415-510-3807
                                                                               Email: clint.woods@doj.ca.gov
                                                                               Fax: 415-703-5480
                                                                               [COR NTC Dep State Aty Gen]
                                                                               AGCA - Office of the California Attorney General
                                                                               Suite 11000
                                                                               455 Golden Gate Avenue
                                                                               San Francisco, CA 94102

           CITY OF MENLO PARK, a municipal corporation
                     Defendant,

           DAVE BERTINI, an individual, in his official capacity
                     Defendant,

           NEW ENTERPRISE ASSOCIATES, INC., a Delaware corporation
                    Defendant,




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                    Case 3:17-cv-07357-RS                     Document 241-1         Filed 03/20/25           Page 6 of 16
           MICHAEL ZELENY,

                        Plaintiff - Appellant,

             v.

           ROB BONTA, California Atotrney General, in his official capacity,

                        Defendant - Appellee,

           and

           CITY OF MENLO PARK, a municipal corporation; DAVE BERTINI, an individual, in his official capacity; NEW ENTERPRISE
           ASSOCIATES, INC., a Delaware corporation,

                        Defendants.




https://ecf.ca9.uscourts.gov/n/beam/servlet/TransportRoom                                                                       2/6
                    Case 3:17-cv-07357-RS                         Document 241-1                 Filed 03/20/25              Page 7 of 16
            06/10/2022        1            DOCKETED CAUSE AND ENTERED APPEARANCES OF COUNSEL. SEND MQ: Yes. The schedule is
                         30 pg, 1.54 MB    set as follows: Appellant Michael Zeleny Mediation Questionnaire due on 06/17/2022. Transcript ordered by
                                           07/08/2022. Transcript due 08/08/2022. Appellant Michael Zeleny opening brief due 09/15/2022. Appellee
                                           Rob Bonta answering brief due 10/17/2022. Appellant's optional reply brief is due 21 days after service of
                                           the answering brief. [12468328] (RT) [Entered: 06/10/2022 11:04 AM]
            06/17/2022        2            Filed (ECF) Appellant Michael Zeleny Mediation Questionnaire. Date of service: 06/17/2022. [12474728]
                         2 pg, 119.86 KB   [22-15870] (England, Brian) [Entered: 06/17/2022 05:34 PM]
            06/17/2022        3            The Mediation Questionnaire for this case was filed on 06/17/2022.
                                           To submit pertinent confidential information directly to the Circuit Mediators, please use the following link.
                                           Confidential submissions may include any information relevant to mediation of the case and settlement
                                           potential, including, but not limited to, settlement history, ongoing or potential settlement discussions, non-
                                           litigated party related issues, other pending actions, and timing considerations that may impact mediation
                                           efforts.[12474755]. [22-15870] (AD) [Entered: 06/17/2022 06:44 PM]
            06/30/2022        4            MEDIATION CONFERENCE SCHEDULED - DIAL-IN Assessment Conference, 08/17/2022, 11:00 a.m.
                         5 pg, 167.04 KB   PACIFIC Time. The briefing schedule previously set by the court remains in effect. See order for
                                           instructions and details. [12483877] (CL) [Entered: 06/30/2022 10:59 AM]
            08/10/2022        5            Filed order (Deputy Clerk: KS) The Clerk is directed to temporarily close this court’s docket for
                         2 pg, 102.37 KB   administrative purposes until December 16, 2022. This administrative closure is not a decision on the
                                           merits and no mandate will issue in connection with this order. At any time, any party may request that this
                                           appeal be reopened. On or before December 1, 2022, counsel are requested to contact the mediator by
                                           email (Kay_Suk@ca9.uscourts.gov) to report on the status of the case. Counsel are requested to include
                                           the Ninth Circuit case name and number in the subject line. [12514410] (OC) [Entered: 08/10/2022 03:48
                                           PM]
            12/02/2022        6            MEDIATION CONFERENCE SCHEDULED - DIAL-IN Conference, 04/17/2023, 10:00 a.m. Pacific Time.
                         1 pg, 102.69 KB   The administrative closure period is extended until 04/28/2023. At any time before that date, any party may
                                           request that this appeal be reopened. See order for details. [12600620] (CL) [Entered: 12/02/2022 08:44
                                           AM]
            04/18/2023        7            MEDIATION CONFERENCE SCHEDULED - DIAL-IN Conference, 05/15/2023, 2:00 p.m. Pacific Time. The
                         1 pg, 99.89 KB    administrative closure period is extended until 05/15/2023. At any time before that date, any party may
                                           request that this appeal be reopened. See order for details. [12697789] (CL) [Entered: 04/18/2023 01:09
                                           PM]
            11/07/2023        8            MEDIATION CONFERENCE SCHEDULED - DIAL-IN Conference, 11/20/2023, 11:00 a.m. Pacific Time.
                         2 pg, 122.44 KB   The administrative closure period is extended until 11/30/2023. At any time before that date, any party may
                                           request that this appeal be reopened. See order for details. [12821277] (BLS) [Entered: 11/07/2023 04:22
                                           PM]
            11/16/2023        9            MEDIATION CONFERENCE RESCHEDULED - DIAL-IN Conference, 12/11/2023, 11:00 a.m. Pacific Time.
                         1 pg, 119.07 KB   (originally scheduled on 11/20/2023). The administrative closure period is extended until 12/11/2023. At any
                                           time before that date, any party may request that this appeal be reopened. [12825068] (CL) [Entered:
                                           11/16/2023 12:10 PM]
            12/12/2023        10           Filed order MEDIATION (KS): This appeal was administratively closed. The appeal is reopened. The
                         1 pg, 98.96 KB    briefing schedule previously set by the court is reset as follows: appellant's opening brief is due February
                                           26, 2024; appellee's answering brief is due March 27, 2024; appellant's optional reply brief is due within 21
                                           days from the service date of the answering brief. [12836203] (AF) [Entered: 12/12/2023 09:14 AM]
            01/04/2024        11           MEDIATION ORDER FILED: This case is RELEASED from the Mediation Program. [12844287] (CL)
                         1 pg, 90.28 KB    [Entered: 01/04/2024 11:36 AM]
            02/14/2024        12           Filed (ECF) Streamlined request for extension of time to file Opening Brief by Appellant Michael Zeleny.
                                           New requested due date is 03/26/2024. [12859781] [22-15870] (England, Brian) [Entered: 02/14/2024
                                           11:51 AM]
            02/14/2024        13           Streamlined request [12] by Appellant Michael Zeleny to extend time to file the brief is approved.
                                           Amended briefing schedule: Appellant Michael Zeleny opening brief due 03/27/2024. Appellee Rob
                                           Bonta answering brief due 04/26/2024. The optional reply brief is due 21 days from the date of
                                           service of the answering brief. [12859847] (DR) [Entered: 02/14/2024 01:23 PM]
            03/20/2024        14           Filed (ECF) Appellant Michael Zeleny Motion to extend time to file Opening brief until 04/29/2024. Date of
                         4 pg, 546.32 KB   service: 03/18/2024. [12870907] [22-15870] (Affeld, David) [Entered: 03/20/2024 05:23 PM]
            03/20/2024        15           Filed (ECF) Appellant Michael Zeleny motion. Attorney(s) Attorney David Affeld, Esquire for Appellant
                         4 pg, 356.57 KB   Michael Zeleny motion to withdraw as counsel. Date of service: 03/20/2024. [12870908] [22-15870] (Affeld,
                                           David) [Entered: 03/20/2024 05:27 PM]
            03/25/2024        16           Filed clerk order (Deputy Clerk: MCD): The motion (Docket Entry No. [15]) to withdraw as counsel for
                         2 pg, 104.76 KB   appellant is granted. The Clerk will amend the docket to reflect that David Affeld, Brian Ray England, and
                                           Affeld England & Johnson LLP are no longer counsel of record for appellant. Appellant remains
                                           represented by Damion Robinson. Appellant’s motion (Docket Entry No. [14]) for an extension of time to file
                                           the opening brief is granted. The opening brief is due April 29, 2024. The answering brief is due May 29,
                                           2024. The optional reply brief is due within 21 days after service of the answering brief. [12871854] (ABT)
                                           [Entered: 03/25/2024 10:29 AM]
            03/25/2024        17           Terminated David Affeld for Michael Zeleny in 22-15870, Brian Ray England for Michael Zeleny in 22-15870
                                           [12871860] (ABT) [Entered: 03/25/2024 10:39 AM]




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                    Case 18
            03/25/2024   3:17-cv-07357-RS              Document
                               Filed (ECF) notice of appearance  of S. 241-1
                                                                       Clinton Woods Filed   03/20/25
                                                                                       (Department             Page
                                                                                                   of Justice, Office     8 of
                                                                                                                      of the     16
                                                                                                                             Attorney
                               General; 455 Golden Gate Avenue, Suite 11000; San Francisco, CA 94102) for Appellee Rob Bonta.
                               Substitution for Attorney John W. Killeen, Esquire for Appellee Rob Bonta. Date of service: 03/25/2024.
                               (Party was previously proceeding with counsel.) [12872011] [22-15870] (Woods, Sean) [Entered:
                               03/25/2024 01:59 PM]
            03/25/2024        19            Attorney John W. Killeen in 22-15870 substituted by Attorney Sean Clinton Woods in 22-15870 [12872038]
                                            (QDL) [Entered: 03/25/2024 02:22 PM]
            04/08/2024        20            Filed (ECF) Notice of withdrawal of counsel. Filed by Attorney Damion Robinson for Appellant Michael
                                            Zeleny. Party proceeding without counsel: Yes, mailing address provided. Party mailing address: 7576
                                            Willow Glen Road, Los Angeles, CA 90046. Date of service: 04/08/2024. [12875646] [22-15870] (Robinson,
                                            Damion) [Entered: 04/08/2024 09:19 AM]
            04/08/2024        21            Filed (ECF) Appellant Michael Zeleny Correspondence: Declaration regarding notice of withdrawal of
                         3 pg, 404.62 KB    counsel. Date of service: 04/08/2024. [12875654] [22-15870] --[COURT UPDATE: Updated docket text to
                                            reflect correct ECF filing type. 04/08/2024 by TYL] (Robinson, Damion) [Entered: 04/08/2024 09:27 AM]
            04/08/2024        22            Terminated Damion Robinson for Michael Zeleny in 22-15870 [12875737] (QDL) [Entered: 04/08/2024
                                            11:52 AM]
            04/17/2024        23            Filed (ECF) notice of appearance of Alan Alexander Beck (Law Office of Alan Beck 2692 Harcourt Drive
                                            San Diego CA 92123) for Appellant Michael Zeleny. Date of service: 04/17/2024. (Party was previously
                                            proceeding pro se.) [12877986] [22-15870] (Beck, Alan) [Entered: 04/17/2024 11:49 AM]
            04/17/2024        24            Added Attorney(s) Alan Alexander Beck for party(s) Appellant Michael Zeleny, in case 22-15870.
                                            [12878006] (QDL) [Entered: 04/17/2024 12:19 PM]
            04/17/2024        25            Filed (ECF) Appellant Michael Zeleny Motion to extend time to file Opening brief until 06/27/2024. Date of
                         3 pg, 212.51 KB    service: 04/17/2024. [12878076] [22-15870] (Beck, Alan) [Entered: 04/17/2024 02:39 PM]
            04/19/2024        26            Filed clerk order (Deputy Clerk: MCD): Appellant’s motion (Docket Entry No. [25]) for an extension of time
                         1 pg, 103.15 KB    to file the opening brief is granted. The opening brief is due June 27, 2024. The answering brief is due July
                                            29, 2024. The optional reply brief is due within 21 days after service of the answering brief. [12878643]
                                            (JBS) [Entered: 04/19/2024 03:27 PM]
            06/25/2024        27            Submitted (ECF) Opening Brief for review. Submitted by Appellant Michael Zeleny. Date of service:
                         68 pg, 411.08 KB   06/25/2024. [12893333] [22-15870] (Beck, Alan) [Entered: 06/25/2024 08:34 AM]
            06/25/2024        28            Submitted (ECF) excerpts of record. Submitted by Appellant Michael Zeleny. Date of service: 06/25/2024.
                         454 pg, 30.5 MB    [12893334] [22-15870] (Beck, Alan) [Entered: 06/25/2024 08:37 AM]
            06/25/2024        29            Filed clerk order: The opening brief [27] submitted by Michael Zeleny is filed. Within 7 days of the filing of
                         2 pg, 95.43 KB     this order, filer is ordered to file 6 copies of the brief in paper format, accompanied by certification (attached
                                            to the end of each copy of the brief) that the brief is identical to the version submitted electronically. Cover
                                            color: blue. The excerpts of record [28] submitted by Michael Zeleny are filed. Within 7 days of this order,
                                            filer is ordered to file 3 copies of the excerpts in paper format securely bound on the left side, with white
                                            covers. The paper copies shall be submitted to the principal office of the Clerk. [12893424] (SML) [Entered:
                                            06/25/2024 10:23 AM]
            06/27/2024        30            Filed (ECF) Appellant Michael Zeleny Motion to hear this case before the panel which will hear case Baird
                         4 pg, 214.4 KB     v. Bonta No. 24-565.. Date of service: 06/27/2024. [12893976] [22-15870] (Beck, Alan) [Entered:
                                            06/27/2024 10:33 PM]
            06/28/2024        31            Received 3 paper copies of excerpts of record [28] in 3 volumes and index volume filed by Appellant
                                            Michael Zeleny. [12894235] (SD) [Entered: 06/28/2024 04:38 PM]
            06/28/2024        32            Received 6 paper copies of Opening Brief [27] filed by Michael Zeleny. [12894236] (SD) [Entered:
                                            06/28/2024 04:39 PM]
            07/01/2024        33            Filed (ECF) Appellant Michael Zeleny citation of supplemental authorities. Date of service: 07/01/2024.
                         31 pg, 1.31 MB     [12894459] [22-15870] (Beck, Alan) [Entered: 07/01/2024 10:28 AM]
            07/08/2024        34            Filed (ECF) Appellee Rob Bonta response to motion ([30] Motion (ECF Filing), [30] Motion (ECF Filing)).
                         14 pg, 506.01 KB   Date of service: 07/08/2024. [12895770] [22-15870] (Woods, Sean) [Entered: 07/08/2024 04:46 PM]
            07/09/2024        35            Filed (ECF) Appellant Michael Zeleny reply to response (). Date of service: 07/09/2024. [12896065] [22-
                         10 pg, 273.53 KB   15870] (Beck, Alan) [Entered: 07/09/2024 11:43 PM]
            07/17/2024        36            Filed (ECF) Streamlined request for extension of time to file Answering Brief by Appellee Rob Bonta. New
                                            requested due date is 08/28/2024. [12897519] [22-15870] (Woods, Sean) [Entered: 07/17/2024 02:14 PM]
            07/17/2024        37            Streamlined request [36] by Appellee Rob Bonta to extend time to file the brief is approved.
                                            Amended briefing schedule: Appellee Rob Bonta answering brief due 08/28/2024. The optional reply
                                            brief is due 21 days from the date of service of the answering brief. [12897552] (DR) [Entered:
                                            07/17/2024 03:23 PM]
            07/26/2024        38            Filed (ECF) Appellee Rob Bonta Motion to remand case. Date of service: 07/26/2024. [12899045] [22-
                         25 pg, 253.15 KB   15870] (Woods, Sean) [Entered: 07/26/2024 03:14 PM]
            08/03/2024        39            Filed (ECF) Appellant Michael Zeleny response opposing motion ([38] Motion (ECF Filing), [38] Motion
                         12 pg, 285.16 KB   (ECF Filing) motion to remand case). Date of service: 08/03/2024. [12900240] [22-15870] (Beck, Alan)
                                            [Entered: 08/03/2024 12:17 AM]
            08/07/2024        40            Filed (ECF) Appellant Michael Zeleny citation of supplemental authorities. Date of service: 08/07/2024.
                         61 pg, 548.79 KB   [12900766] [22-15870] (Beck, Alan) [Entered: 08/07/2024 11:19 AM]




https://ecf.ca9.uscourts.gov/n/beam/servlet/TransportRoom                                                                                                        4/6
                    Case 41
            08/12/2024       3:17-cv-07357-RS                Document
                                        Filed (ECF) Appellee Rob              241-1
                                                                 Bonta reply to response ().Filed
                                                                                             Date of03/20/25         Page
                                                                                                    service: 08/12/2024.      9 of [22-15870]
                                                                                                                         [12901594] 16
                       12 pg, 205.79 KB (Woods, Sean) [Entered: 08/12/2024 02:35 PM]

            08/14/2024        42           Filed (ECF) Appellant Michael Zeleny citation of supplemental authorities. Date of service: 08/14/2024.
                         2 pg, 105.56 KB   [12902185] [22-15870] (Beck, Alan) [Entered: 08/14/2024 04:05 PM]
            08/28/2024        43           Filed order (MARY M. SCHROEDER, MILAN D. SMITH, JR. and ANDREW D. HURWITZ) The motion
                         1 pg, 165.24 KB   (Docket Entry No. [38]) to vacate and remand is granted. The district court’s May 2, 2022 judgment in favor
                                           of appellee Rob Bonta is vacated. This case is remanded to the district court for proceedings consistent
                                           with New York State Rifle & Pistol Ass’n v. Bruen, 597 U.S. 1 (2022). All pending motions are denied as
                                           moot. VACATED and REMANDED. [12904491] (JBS) [Entered: 08/28/2024 02:03 PM]
            09/19/2024        44           MANDATE ISSUED. (MMS, MDS and ADH) [12907534] (QDL) [Entered: 09/19/2024 08:25 AM]
                         1 pg, 92.27 KB




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                   Case 3:17-cv-07357-RS                    Document 241-1                Filed 03/20/25            Page 10 of 16
           Clear All

              Documents and Docket Summary
              Documents Only

              Include Page Numbers

          Selected Pages: 0                 Selected Size: 0 KB

           View Selected



                                                             PACER Service Center
                                                                   Transaction Receipt
                                               U.S. Court of Appeals for the 9th Circuit - 02/10/2025 09:58:43
                                    PACER Login:        damion.robinson                Client Code:
                                    Description:        Docket Report (filtered)       Search Criteria:      22-15870
                                    Billable Pages:     4                              Cost:                 0.40




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Case 3:17-cv-07357-RS   Document 241-1   Filed 03/20/25   Page 11 of 16




                                         EXHIBIT 2
             Case 3:17-cv-07357-RS           Document 241-1          Filed 03/20/25      Page 12 of 16


Damion Robinson

From:                             Corinne Lew <Corinne_Lew@cand.uscourts.gov>
Sent:                             Tuesday, January 21, 2025 3:24 PM
To:                               Damion Robinson; David Affeld; Bob Gundert
Cc:                               Brian R. England; David Markevitch; clint.woods@doj.ca.gov; ashley.shively@hklaw.com;
                                  hapi@hklaw.com; maria.batres@hklaw.com; philip.dobbs@hklaw.com;
                                  reena.kaur@hklaw.com; courtney.worcester@hklaw.com; jennifer.blake@hklaw.com;
                                  David Markevitch; David Markevitch; Cristina Mercader Pérez; Johanna Hill;
                                  Emmanuelle.Soichet@doj.ca.gov; Monali.Dholakia@doj.ca.gov; John.Killeen@doj.ca.gov;
                                  eileen.ennis@doj.ca.gov; ksenia.lavrushchak@doj.ca.gov; Noreen.Skelly@doj.ca.gov;
                                  ecfcoordinator@doj.ca.gov; eileen.ennis@doj.ca.gov
Subject:                          RE: [External] Activity in Case 3:17-cv-07357-RS Zeleny v. Brown et al


Mr. Robinson and Mr. Markevitch,

Per chambers Mr. Zeleny still thinks you are representing him and you will need to file a formal motion to
withdraw.

Thank you,



Corinne Lew
Courtroom Deputy to
The Honorable Richard Seeborg
United States District Court
Northern District of California
415-522-2123

From: Damion Robinson <dr@robinsonmarkevitch.com>
Sent: Tuesday, January 21, 2025 10:28 AM
To: David Affeld <dwa@aejlaw.com>; Corinne Lew <Corinne_Lew@cand.uscourts.gov>; Bob Gundert
<rgundert@hrmrlaw.com>
Cc: Brian R. England <bre@aejlaw.com>; David Markevitch <dm@robinsonmarkevitch.com>; clint.woods@doj.ca.gov;
ashley.shively@hklaw.com; hapi@hklaw.com; maria.batres@hklaw.com; philip.dobbs@hklaw.com;
reena.kaur@hklaw.com; courtney.worcester@hklaw.com; jennifer.blake@hklaw.com; David Markevitch
<dm@robinsonmarkevitch.com>; David Markevitch <dm@robinsonmarkevitch.com>; Cristina Mercader Pérez
<cmp@robinsonmarkevitch.com>; Johanna Hill <jh@robinsonmarkevitch.com>; Emmanuelle.Soichet@doj.ca.gov;
Monali.Dholakia@doj.ca.gov; John.Killeen@doj.ca.gov; eileen.ennis@doj.ca.gov; ksenia.lavrushchak@doj.ca.gov;
Noreen.Skelly@doj.ca.gov; ecfcoordinator@doj.ca.gov; eileen.ennis@doj.ca.gov
Subject: RE: [External] Activity in Case 3:17-cv-07357-RS Zeleny v. Brown et al

CAUTION - EXTERNAL:


Good morning,

The same is true for David Markevitch and me. We have not been involved in the case for more than a
year. Would it be possible to remove us from the email list as well?
                                                           1
                 Case 3:17-cv-07357-RS                   Document 241-1                Filed 03/20/25            Page 13 of 16


Respectfully,

From: David Affeld <dwa@aejlaw.com>
Sent: Tuesday, January 21, 2025 10:18 AM
To: Corinne Lew <Corinne_Lew@cand.uscourts.gov>; Bob Gundert <rgundert@hrmrlaw.com>
Cc: Brian R. England <bre@aejlaw.com>; David Markevitch <dm@robinsonmarkevitch.com>; clint.woods@doj.ca.gov;
ashley.shively@hklaw.com; hapi@hklaw.com; maria.batres@hklaw.com; philip.dobbs@hklaw.com;
reena.kaur@hklaw.com; courtney.worcester@hklaw.com; jennifer.blake@hklaw.com; Damion Robinson
<dr@robinsonmarkevitch.com>; David Markevitch <dm@robinsonmarkevitch.com>; David Markevitch
<dm@robinsonmarkevitch.com>; Cristina Mercader Pérez <cmp@robinsonmarkevitch.com>; Johanna Hill
<jh@robinsonmarkevitch.com>; Emmanuelle.Soichet@doj.ca.gov; Monali.Dholakia@doj.ca.gov;
John.Killeen@doj.ca.gov; eileen.ennis@doj.ca.gov; ksenia.lavrushchak@doj.ca.gov; Noreen.Skelly@doj.ca.gov;
ecfcoordinator@doj.ca.gov; eileen.ennis@doj.ca.gov
Subject: RE: [External] Activity in Case 3:17-cv-07357-RS Zeleny v. Brown et al

Could you remove me as well? We substituted out a year ago while the case was in the Ninth Circuit. – Dave
Affeld


David W. Affeld
AEJ | AFFELD ENGLAND & JOHNSON LLP
2049 Century Park East, Suite 2460
Los Angeles, CA 90067
Tel: (310) 979-8700
dwa@aejlaw.com

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e-mail and then delete this message from your system. Please do not copy it or use it for any purposes, or disclose its contents to any other person.


From: Corinne Lew <Corinne_Lew@cand.uscourts.gov>
Sent: Tuesday, January 21, 2025 7:56 AM
To: Bob Gundert <rgundert@hrmrlaw.com>
Cc: David Affeld <dwa@aejlaw.com>; Brian R. England <bre@aejlaw.com>; dm@robinsonmarkevitch.com;
clint.woods@doj.ca.gov; ashley.shively@hklaw.com; hapi@hklaw.com; maria.batres@hklaw.com;
philip.dobbs@hklaw.com; reena.kaur@hklaw.com; courtney.worcester@hklaw.com; jennifer.blake@hklaw.com;
dr@robinsonmarkevitch.com; dm@robinsonmarkevitch.com; dm@robinsonmarkevitch.com;
cmp@robinsonmarkevitch.com; jh@robinsonmarkevitch.com; Emmanuelle.Soichet@doj.ca.gov;
Monali.Dholakia@doj.ca.gov; John.Killeen@doj.ca.gov; eileen.ennis@doj.ca.gov; ksenia.lavrushchak@doj.ca.gov;
Noreen.Skelly@doj.ca.gov; ecfcoordinator@doj.ca.gov; eileen.ennis@doj.ca.gov
Subject: RE: [External] Activity in Case 3:17-cv-07357-RS Zeleny v. Brown et al

Yes, will do.

Corinne Lew
Courtroom Deputy to
The Honorable Richard Seeborg
United States District Court
Northern District of California
415-522-2123



                                                                           2
             Case 3:17-cv-07357-RS          Document 241-1        Filed 03/20/25      Page 14 of 16

From: Bob Gundert <rgundert@hrmrlaw.com>
Sent: Saturday, January 18, 2025 8:27 PM
To: Corinne Lew <Corinne_Lew@cand.uscourts.gov>
Cc: dwa@agzlaw.com; bre@agzlaw.com; dm@robinsonmarkevitch.com; clint.woods@doj.ca.gov;
ashley.shively@hklaw.com; hapi@hklaw.com; maria.batres@hklaw.com; philip.dobbs@hklaw.com;
reena.kaur@hklaw.com; courtney.worcester@hklaw.com; jennifer.blake@hklaw.com; dr@robinsonmarkevitch.com;
dm@robinsonmarkevitch.com; dm@robinsonmarkevitch.com; cmp@robinsonmarkevitch.com;
jh@robinsonmarkevitch.com; Emmanuelle.Soichet@doj.ca.gov; Monali.Dholakia@doj.ca.gov; John.Killeen@doj.ca.gov;
eileen.ennis@doj.ca.gov; ksenia.lavrushchak@doj.ca.gov; Noreen.Skelly@doj.ca.gov; ecfcoordinator@doj.ca.gov;
eileen.ennis@doj.ca.gov
Subject: FW: Activity in Case 3:17-cv-07357-RS Zeleny v. Brown et al

CAUTION - EXTERNAL:



Ms. Lew:

Would it be possible to be removed from this service list? Our office previously represented
the City of Menlo Park, which is no longer a party to this lawsuit.

Thank you for your attention to this request. If you have any questions or wish to discuss this
matter please do not hesitate to contact me.

Robert J. Gundert
RIDLEY ◊ MASTER
1900 O’Farrell Street, Suite 280
San Mateo, California 94403
Telephone: (650) 365-7715, extn. 223
Direct: (650) 980-1033
Fax: (650) 364-5297
rgundert@hrmrlaw.com


From: ECF-CAND@cand.uscourts.gov <ECF-CAND@cand.uscourts.gov>
Sent: Friday, January 17, 2025 1:13 PM
To: efiling@cand.uscourts.gov
Subject: Activity in Case 3:17-cv-07357-RS Zeleny v. Brown et al




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             Case 3:17-cv-07357-RS          Document 241-1        Filed 03/20/25      Page 15 of 16

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                                                U.S. District Court

                                           California Northern District

Notice of Electronic Filing

The following transaction was entered on 1/17/2025 at 1:13 PM PST and filed on 1/17/2025
Case Name:          Zeleny v. Brown et al
Case Number:        3:17-cv-07357-RS
Filer:
Document Number: 239(No document attached)

Docket Text:
CLERK'S NOTICE SETTING ZOOM HEARING. Further Case Management Conference set for
1/23/2025 at 10:00 AM in San Francisco, - Videoconference Only. This proceeding will be held
via a Zoom webinar.

Webinar Access: All counsel, members of the public, and media may access the webinar
information at https://www.cand.uscourts.gov/rs

Court Appearances: Advanced notice is required of counsel or parties who wish to be
identified by the court as making an appearance or will be participating in the argument at the
hearing. A list of names and emails must be sent to the CRD at rscrd@cand.uscourts.gov no
later than 1/21/2025 at 12:00 pm.

General Order 58. Persons granted access to court proceedings held by telephone or
videoconference are reminded that photographing, recording, and rebroadcasting of court
proceedings, including screenshots or other visual copying of a hearing, is absolutely
prohibited.

Zoom Guidance and Setup: https://www.cand.uscourts.gov/zoom/.

(This is a text-only entry generated by the court. There is no document associated with this
entry.).(cl, COURT STAFF) (Filed on 1/17/2025)

3:17-cv-07357-RS Notice has been electronically mailed to:

Ashley Lynn Shively ashley.shively@hklaw.com, hapi@hklaw.com, maria.batres@hklaw.com,
philip.dobbs@hklaw.com, reena.kaur@hklaw.com

Courtney Worcester      courtney.worcester@hklaw.com, jennifer.blake@hklaw.com

Damion D. Robinson      dr@robinsonmarkevitch.com, dm@robinsonmarkevitch.com

David Markevitch     dm@robinsonmarkevitch.com, cmp@robinsonmarkevitch.com, jh@robinsonmarkevitch.com

Emmanuelle S. Soichet     Emmanuelle.Soichet@doj.ca.gov, Monali.Dholakia@doj.ca.gov

                                                             4
             Case 3:17-cv-07357-RS             Document 241-1        Filed 03/20/25      Page 16 of 16


John William Killeen     John.Killeen@doj.ca.gov, eileen.ennis@doj.ca.gov, ksenia.lavrushchak@doj.ca.gov

Noreen Patricia Skelly     Noreen.Skelly@doj.ca.gov, ecfcoordinator@doj.ca.gov, eileen.ennis@doj.ca.gov

Robert Jay Gundert       rgundert@hrmrlaw.com

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Todd Holton Master tmaster@hrmrlaw.com, fkelly@hrmrlaw.com, lcastleberry@hrmrlaw.com, lrauch@hrmrlaw.com,
lspinelli@hrmrlaw.com, rgundert@hrmrlaw.com, sridley@hrmrlaw.com

3:17-cv-07357-RS Please see Local Rule 5-5; Notice has NOT been electronically mailed to:


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                                                            5
